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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS




Jerome Birdsong and                           )
Rocio Dominguez,                              )
                                              )
               Plaintiffs                     )
                                              )
vs.                                           )       Case No. 13-CV-2090
                                              )
Unified Government of                         )
Kansas City, Kansas, et al.,                  )
                                              )
            Defendants.                       )
___________________________________




                     PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
                    TO REPLY TO DEFENDANTS’ MOTION TO DISMISS

       Plaintiffs Jerome Birdsong and Rocio Dominguez, by and through their attorney of

record, move for an extension of time to June 14, 2013 to reply to all Defendants’ Motion to

Dismiss. In support of their motion, Plaintiffs state as follows:

1. Plaintiffs’ reply to all Defendants’ Motion to Dismiss is currently due on June 2, 2013. This is

  plaintiffs’ third request for an extension of time to respond to both motions.

2. Plaintiffs’ counsel needs additional time to respond to the issues raised by all defendants.

3. Henry Couchman has indicated that he has no objection to the requested extension of time.

  Plaintiffs have not heard back from Sean McCauley regarding this request.

       WHEREFORE, Plaintiffs move for an extension of time to June 14, 2013 to reply to

Defendants’ Motion to Dismiss.
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                                                    RESPECTFULLY SUBMITTED,


                                                    s/Rebecca Hamilton
                                                    Rebecca Hamilton
                                                    Bar Number 12224
                                                    816 Ann Avenue
                                                    Kansas City, KS 66101
                                                    Tel. (913 689-9080
                                                    Fax (913) 342-2016
                                                    Attorney for Plaintiffs


                                     Certificate of Service

        The undersigned certifies that on June 4, 2013, a copy of the foregoing was sent
electronically to:

       Sean P. McCauley
       McCauley & Roach, LLC
       527 W. 39th Street, Suite 200
       Kansas City, Missouri 64111
       Attorney for Defendants Mills and Bell

       Jennifer Meyers
       Unified Government Legal Department
       701 N. 7th St., Ste 961
       Kansas City, KS 66101
       Attorney for Defendant Breshears

       Henry Couchman
       Unified Government Legal Department
       701 N. 7th St., Ste 961
       Kansas City, KS 66101
       Attorney for all other Defendants


                                                    /s Rebecca Hamilton
                                                    Rebecca Hamilton
